       Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 1 of 60




                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                           ROME DIVISION

EARL PARRIS, JR., individually and        )
on behalf of a Class of persons similarly )
situated,                                 )
                                          )
             Plaintiff,                   )
                                          )    Civil Action No. 4:21-cv-40-TWT
v.                                        )
                                          )    TRIAL BY JURY REQUESTED
3M COMPANY, DAIKIN AMERICA, )
INC., HUNTSMAN INTERNATIONAL )
LLC, MOUNT VERNON MILLS, INC, )
TOWN OF TRION, GEORGIA, and               )
RYAN DEJUAN JARRETT,                      )
                                          )
             Defendants.                  )


HUNTSMAN INTERNATIONAL LLC’S ANSWER AND AFFIRMATIVE
DEFENSES TO EARL PARRIS, JR.’S SECOND AMENDED COMPLAINT
       AND TO THE CITY OF SUMMERVILLE’S JOINDER

      Defendant Huntsman International LLC (“Huntsman”) hereby files it answer

and affirmative defenses to Plaintiff Earl Parris, Jr.’s Second Amended Complaint

(ECF Doc. 280) and to the Joinder filed by Intervenor-Plaintiff City of Summerville

(Doc. 281) (collectively, “Complaint”).1 Huntsman’s answer is based upon its


1
  The City of Summerville filed a document entitled “Joinder in Plaintiff’s Second
Amended Individual and Class Action Complaint.” (Doc. 281). While it is not clear
from the Joinder whether and to what extent that document is purporting to amend


#3357124v1
         Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 2 of 60




investigation to date, and Huntsman reserves the right to amend this answer if and

when new information is learned.

                                     I.
                            AFFIRMATIVE DEFENSES

         Without assuming any burden of proof it would not otherwise bear, Huntsman

hereby asserts the following as affirmative and other defenses to the Complaint:

         1.    The Complaint fails to state a claim against Huntsman upon which

relief can be granted.

         2.    Plaintiff’s claims are barred, in whole or in part, because Plaintiff lacks

standing to bring such claims.

         3.    Plaintiff’s claims are barred by the applicable statutes of limitations.

Plaintiff’s claims for damages are barred to the extent Plaintiff’s damages, if any,

were incurred outside the applicable statutes of limitations.          Such statutes of

limitations include a four-year limitations period applying to Plaintiff’s claims for

damages to property and a two-year limitations period applying to claims for

personal injury.




Summerville’s Complaint in Intervention (Doc. 137), Huntsman incorporates and
provides this answer in response to any portions of the Second Amended Complaint
that Summerville seeks to adopt or incorporate through its Joinder (Doc. 281).
                                             2
#3357124v1
         Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 3 of 60




         4.    Plaintiff’s claims are barred, in whole or in part, by laches, license, res

judicata, acquiescence, release, unclean hands, and/or permit.

         5.    Plaintiff’s claims are barred, in whole or in part, under the economic-

loss doctrine.

         6.    Plaintiff’s claims are barred, in whole or in part, by the bulk-supplier

doctrine, the learned-intermediary doctrine, and/or the sophisticated-user doctrine.

         7.    Plaintiff’s claims are barred, in whole or in part, under the doctrines of

waiver and/or estoppel.

         8.    Plaintiff’s claims are barred, in whole or in part, by assumption of risk.

         9.    Plaintiff’s claims are barred, in whole or in part, because Huntsman did

not exercise control over the cause of the harm or the discharge alleged. Plaintiff’s

claim for abatement of an alleged nuisance is barred because Huntsman does not

have control over or access to the property that constitutes the alleged nuisance.

         10.   Plaintiff’s claims are barred, in whole or in part, because Plaintiff and

his proposed class did not suffer special damages.

         11.   Plaintiff’s   claims    are    barred    because     Plaintiff’s   alleged

injuries/damages, if any, were not caused by any alleged act or omission by

Huntsman.




                                             3
#3357124v1
         Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 4 of 60




         12.   Plaintiff’s claims are barred because Huntsman owed no duty to

Plaintiff.

         13.   Plaintiff’s claims are barred because Plaintiff’s injuries/damages, if

any, were caused by superseding, unforeseen, and/or intervening causes.

         14.   Plaintiff’s claims are barred, in whole or in part, because they are

preempted by federal law.

         15.   Plaintiff’s claims are barred, in whole or in part, to the extent Plaintiff

seeks to impose liability based on retroactive application of any law, regulation,

standard, and/or guideline.

         16.   Plaintiff’s claims are barred, in whole or in part, for failure to mitigate

damages.

         17.   Plaintiff’s claims are barred, in whole or in part, by the doctrines of

setoff, credit, and/or recoupment.

         18.   Plaintiff’s claims for punitive damages are barred, in whole or in part,

by the United States Constitution and the Georgia Constitution. Plaintiff’s claims

for punitive damages are further subject to the limitations and protections contained

in O.C.G.A. § 51-12-1, et seq.

         19.   Plaintiff’s claims are barred, in whole or in part, by the applicable

statutes of repose, including O.C.G.A. § 51-1-11.


                                             4
#3357124v1
         Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 5 of 60




         20.   Plaintiff’s claims and any recovery against Huntsman are barred, in

whole or in part, by the negligence, fault, conduct, or carelessness of others over

whose conduct Huntsman had no control and for whose conduct Huntsman is not

responsible. Any judgment or damages awarded to Plaintiff against Huntsman

should be limited to the fault attributable to Huntsman. Any damages awarded to

Plaintiff in this action should be subject to apportionment among any parties or non-

parties who are or could be responsible for Plaintiff’s injuries or damages.

         21.   Plaintiff’s claims are barred, in whole or in part, because Huntsman’s

conduct was in accordance with applicable standards of care under all laws,

regulations, and industry practices.

         22.   Plaintiff’s claims for damages, if any, are barred, in whole or in part, to

the extent there was no practical or technically feasible alternative design or

formulation that would have prevented the harm to Plaintiff, if any, without

substantially impairing the usefulness or intended purpose of the product.

         23.   Plaintiff’s claim for attorneys’ fees is barred because Huntsman has not

acted in a manner that gives rise to a claim for attorneys’ fees or for the expenses of

litigation.

         24.   Plaintiff’s claims are barred, in whole or in part, by his own

contributory negligence.


                                             5
#3357124v1
         Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 6 of 60




         25.   Plaintiff’s claims are barred due to the failure to join indispensable

parties and real-parties-in-interest.

         26.   Plaintiff’s claims are barred, in whole or in part, by the doctrine of

comparative fault.

         27.   Huntsman adopts by reference all affirmative defenses pleaded by other

parties as may be applicable to the facts alleged against Huntsman and does not

waive or relinquish any other available affirmative defenses.

         28.   Plaintiff’s claims are barred, in whole or in part, by the prior nuisance

or prior trespass doctrines.

         29.   Huntsman reserves any actions for contribution or indemnity against

such third parties and reserves its right to remedies.

         Huntsman at this time lacks sufficient information to set forth all affirmative

defenses and hereby reserves the right to assert additional affirmative defenses as

facts are discovered throughout this case or to remove affirmative defenses that it

later determines are not applicable.

                                          II.
                                        ANSWER

                            STATEMENT OF THE CASE

         1.    This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent required, Huntsman admits that Plaintiff
                                            6
#3357124v1
         Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 7 of 60




seeks to bring this action pursuant to Section 505(a)(1) of the federal Clean Water

Act, 33 U.S.C. § 1365(a)(1), and that this paragraph describes Plaintiff’s legal

theories. To the extent this paragraph contains any allegations directed at Huntsman,

Huntsman denies them and denies that Plaintiff is entitled to any relief from

Huntsman. Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in this paragraph directed towards others and therefore

denies those allegations.

         2.   This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent required, Huntsman admits that Plaintiff

seeks to bring this action pursuant to the citizen suit provision of the federal

Resource Conservation and Recovery Act (“RCRA”), 42 U.S.C. § 6972(a)(1)(B),

and that this paragraph describes Plaintiff’s legal theories. To the extent this

paragraph contains any allegations directed at Huntsman, Huntsman denies them.

Huntsman lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 2 as to the remaining Defendants.

         3.   Huntsman admits that Plaintiff seeks to bring this action as a class

action. Huntsman denies that it has caused and continues to cause PFAS to be

discharged into Raccoon Creek. Huntsman denies any remaining allegations against




                                          7
#3357124v1
         Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 8 of 60




it in paragraph 3. Huntsman lacks knowledge or information sufficient to form a

belief as to the truth of the allegations in paragraph 3 as to the remaining Defendants.

         4.   Huntsman admits that Plaintiff seeks to bring this action on behalf of

“All water subscribers (ratepayers) with the City of Summerville, Georgia Public

Works and Utilities Department.” See First Am. Compl., ¶ 147. Huntsman denies

the remaining allegations against it in paragraph 4. Huntsman lacks knowledge or

information sufficient to form a belief as to the truth of the allegations in paragraph

4 as to the remaining Defendants.

         5.   Huntsman admits that Mount Vernon Mills, Inc. (“Mount Vernon”) has

operated a textile mill in Trion, Georgia. Huntsman admits that it supplied certain

products containing PFAS to Mount Vernon for use in the manufacturing process to

provide stain resistance and water resistance to fabrics. Huntsman admits that these

products were sold to Mount Vernon pursuant to its marketing alliance with The

Chemours Company (“Chemours”) and previously E.I. du Pont de Nemours and

Company (“DuPont”) and that the base components for these products were

perfluoroalkyl substances manufactured by Chemours and DuPont before it.

Huntsman denies the remaining allegations against it in paragraph 5. Huntsman

lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in paragraph 5 as to the remaining Defendants.


                                           8
#3357124v1
         Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 9 of 60




         6.   Huntsman admits that it supplied certain products containing PFAS to

Mount Vernon. Huntsman admits that these products were sold to Mount Vernon

pursuant to its marketing alliance with Chemours and DuPont and that the base

components for these products were perfluoroalkyl substances manufactured by

Chemours and DuPont before it. Huntsman denies the remaining allegations against

it in paragraph 6. Huntsman lacks knowledge or information sufficient to form a

belief as to the truth of the allegations in paragraph 6 as to the remaining Defendants.

         7.   Huntsman admits that paragraph 7 contains Plaintiff’s legal theories

and requests for relief. Huntsman denies the allegations against it in paragraph 7

and denies that Plaintiff and the proposed class members are entitled to any of the

relief sought against Huntsman.        Huntsman lacks knowledge or information

sufficient to form a belief as to the truth of the allegations in paragraph 7 as to the

remaining Defendants.

                          JURISDICTION AND VENUE

         8.   This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 8.




                                           9
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 10 of 60




         9.    This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 9.

         10.   This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman admits

that Plaintiff has attached Exhibit A to the Complaint, and Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 10.

         11.   This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 11.

         12.   This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman admits

that Plaintiff has attached Exhibit A to the First Amended Complaint, and Huntsman

lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in paragraph 12.




                                          10
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 11 of 60




         13.   This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 13.

         14.   This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 14.

         15.   This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 15.

         16.   This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 16.

         17.   This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks




                                          11
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 12 of 60




knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 17.

         18.   Huntsman admits that the Court has jurisdiction over the state law

claims in this action pursuant to 28 U.S.C. § 1332(d)(2)(A). Huntsman denies that

there is a certifiable class in this case.

         19.   To the extent a response is required, Huntsman denies the allegations

asserted against it. Huntsman lacks knowledge or information sufficient to form a

belief as to the truth of the allegations in paragraph 19 as to the remaining

Defendants.

         20.   Huntsman admits that venue is proper in the Northern District of

Georgia as to Huntsman. Huntsman denies that it caused harm to Plaintiff and to

members of the putative class residing in this District. To the extent required,

Huntsman denies any remaining allegations in this paragraph.

                                        PARTIES

         21.   Huntsman denies that Raccoon Creek has been and continues to be

contaminated with PFAS as a result of any act or omission of Huntsman. Huntsman

denies that Plaintiff has been, and will continue to be, directly and substantially

injured in his use and enjoyment of his property as a direct result of Huntsman’s

violations of the CWA and RCRA (although none are alleged) or the contamination


                                             12
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 13 of 60




of Raccoon Creek. Huntsman denies that Plaintiff has been injured or is entitled to

any of the relief he seeks. Huntsman denies that Plaintiff has a special interest in

protecting the water quality of Raccoon Creek. Huntsman denies that it disposed of

any solid waste containing PFAS. Huntsman further denies the allegations in

paragraph 21 as to Huntsman. Huntsman lacks knowledge or information sufficient

to form a belief as to the truth of the remaining allegations in paragraph 21.

         22.   This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 22.

         23.   This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 23.

         24.   This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman admits

that Mount Vernon Mills, Inc. operates a textile mill in Trion, Georgia. Huntsman

lacks knowledge or information sufficient to form a belief as to the truth of the

remaining allegations in paragraph 24.


                                          13
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 14 of 60




         25.   This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman admits

that the Town of Trion is a municipal corporation organized under the laws of the

State of Georgia. Huntsman lacks knowledge or information sufficient to form a

belief as to the truth of the remaining allegations in paragraph 25.

         26.   This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 26.

         27.   This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 27.

         28.   This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 28.

         29.   This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks


                                          14
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 15 of 60




knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 29.

         30.   Huntsman admits that it is a foreign corporation authorized to do

business in the State of Georgia and was conducting business in this District.

Huntsman admits that it has supplied certain products containing PFAS to Mount

Vernon Mills. Huntsman admits that Ciba Specialty Chemicals Holding, Inc. was

the predecessor entity that supplied products to Mount Vernon Mills. Huntsman

denies the remaining allegations in paragraph 30.

         31.   This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 31.

         32.   Huntsman admits that DuPont has manufactured and supplied certain

products containing PFAS to Huntsman and that Huntsman sold PFAS-containing

products to Mount Vernon that were based on or comprised of the products

manufactured and supplied by DuPont. Huntsman lacks knowledge or information

sufficient to form a belief as to the truth of the allegations in paragraph 32.

         33.   Huntsman admits that Chemours has manufactured and supplied certain

products containing PFAS to Huntsman and that Huntsman sold PFAS-containing


                                           15
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 16 of 60




products to Mount Vernon that were based on or comprised of the products

manufactured and supplied by Chemours.             Huntsman lacks knowledge or

information sufficient to form a belief as to the truth of the allegations in paragraph

33.

                            FACTUAL ALLEGATIONS

Mount Vernon’s Discharges of PFAS to Trion WPCP2

         34.   Huntsman admits that Mount Vernon has operated a textile mill in

Trion, Georgia. Huntsman admits that it has supplied certain products containing

PFAS to Mount Vernon for use in the manufacturing process to provide stain

resistance and water resistance to fabrics.        Huntsman denies the remaining

allegations contained in paragraph 34 as to Huntsman. Huntsman lacks knowledge

or information sufficient to form a belief as to the truth of the remaining allegations

in paragraph 34.

         35.   Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 35.

         36.   This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks


2
 For ease of reference, Huntsman includes the headings from Plaintiff’s Second
Amended Complaint. To the extent required, Huntsman denies any and allegations
made in the headings of the Second Amended Complaint.
                                          16
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 17 of 60




knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 36.

         37.   This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 37.

         38.   This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 38.

Persistence and Toxicity of PFAS

         39.   Huntsman admits that per- and polyfluoroalkyl substances are man-

made chemicals and that certain PFAS have stable carbon-fluorine bonds and are

used to treat textiles to confer stain, soil, water, and/or oil resistance. Huntsman

admits that certain PFAS have a wide variety of industrial and commercial

applications. Huntsman denies any allegations against it in paragraph 38. Huntsman

lacks knowledge or information sufficient to form a belief as to the truth of the

remaining allegations in paragraph 39.




                                          17
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 18 of 60




         40.   Huntsman admits that certain PFAS have stable carbon-fluorine bonds.

Huntsman admits that certain PFAS may persist in the environment. Huntsman

denies that PFAS do not biodegrade. Huntsman denies any allegations against it in

paragraph 40. Huntsman lacks sufficient information to form a belief as to the truth

of the remaining allegations in paragraph 40.

         41.   Huntsman does not have sufficient information to form a belief on

whether Perfluorooctanoic Acid (“PFOA”) and Perfluorooctanesulfonic Acid

(“PFOS”) “are the most studied PFAS,” but Huntsman admits that PFOA and PFOS

have been studied and appear capable of persistence. Huntsman lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in

paragraph 41.

         42.   Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 42.

         43.   Huntsman admits that the C8 Science Panel conducted certain studies

related to PFOA and that the panel issued “C8 Probable Link Reports.” Huntsman

denies that the allegations in paragraph 43 accurately state or describe any reports or

findings of the C8 Science Panel. Huntsman denies any remaining allegations in

paragraph 43.




                                          18
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 19 of 60




         44.   Huntsman admits that the C8 Science Panel conducted certain studies

related to PFOA and that the panel issued “C8 Probable Link Reports.” Huntsman

denies that the allegations in paragraph 44 accurately state or describe any reports or

findings of the C8 Science Panel. Huntsman lacks knowledge or information

sufficient to form a belief as to the truth of the remaining allegations in paragraph

44.

         45.   Huntsman admits that the International Agency for Research on Cancer

(“IARC”) has designated PFOA as being “possibly carcinogenic to humans” based

on limited epidemiologic evidence and that the EPA stated there is suggestive

evidence of carcinogenic potential for PFOA. Huntsman denies any remaining

allegations in paragraph 45.

         46.   Huntsman admits that the United States Department of Health and

Human Service’s National Toxicology Program (“NTP”) conducted a study on

PFOA and PFOS. Huntsman denies that the allegations in paragraph 46 accurately

state or describe the NTP study. Huntsman denies any remaining allegations in

paragraph 46.

         47.   Huntsman admits that the EPA published non-enforceable and non-

regulatory lifetime health advisories for PFOA and PFOS in 2016. Huntsman admits

that the advisory for PFOA was 0.07 micrograms/liter. Huntsman admits that the


                                          19
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 20 of 60




advisory for PFOS was 0.07 micrograms/liter. Huntsman denies any remaining

allegations in paragraph 47.

         48.   Huntsman denies that the allegations in paragraph 48 completely and

accurately state or describe the studies or report upon which the EPA based its PFOA

and PFOS health advisories.       Huntsman denies any remaining allegations in

paragraph 48.

         49.   Huntsman admits that the EPA published non-enforceable and non-

regulatory lifetime health advisories for PFOA and PFOS in 2016. Huntsman denies

that the allegations in paragraph 49 completely and accurately state or describe the

content of those advisories. Huntsman denies the allegations in paragraph 49 to the

extent they are inconsistent with those advisories.

         50.   Huntsman admits that the Agency for Toxic Substances and Disease

Registry (“ATSDR”) issued an updated draft Toxicological Profile for

Perfluoroalkyls in 2018. Huntsman denies that the allegations in paragraph 50

completely and accurately state or describe the content of the draft Toxicological

Profile. Huntsman denies the allegations in paragraph 50 to the extent they are

inconsistent with the draft Toxicological Profile.

         51.   Huntsman admits that the Agency for Toxic Substances and Disease

Registry (“ATSDR”) issued an updated draft Toxicological Profile for


                                         20
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 21 of 60




Perfluoroalkyls in 2018. Huntsman denies that the allegations in paragraph 51

completely and accurately state or describe the content of the draft Toxicological

Profile. Huntsman denies the allegations in paragraph 51 to the extent they are

inconsistent with the draft Toxicological Profile.

         52.   Huntsman admits that certain states have issued or adopted regulatory

guidance concerning levels for PFOA and/or PFOS in drinking water that are lower

than the EPA health advisory levels. Huntsman lacks knowledge or information

sufficient to form a belief as to the truth of the remaining allegations in paragraph

52.

         53.   Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 53.

         54.   Huntsman admits that Section 7321 of the National Defense

Authorization Act for Fiscal Year 2020 (“NDAA”) added 172 PFAS to the list of

chemicals covered by the Toxics Release Inventory (“TRI”) under Section 313 of

the Emergency Planning and Community Right to Know Act (“EPCRA”).

Huntsman denies any remaining allegations in paragraph 54.

Defendants’ Knowledge of the Toxicity and Persistence of PFAS

         55.   Huntsman denies the allegations directed against it in paragraph 55.

Huntsman lacks knowledge or information sufficient to form a belief as to the truth


                                          21
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 22 of 60




of the remaining allegations directed against other Defendants in paragraph 55.

         56.   This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 56.

         57.   This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 57.

         58.   Huntsman denies the first sentence of paragraph 58 as to Huntsman’s

knowledge. Huntsman denies any remaining allegations in paragraph 58 that are

directed at it. Huntsman lacks knowledge or information sufficient to form a belief

as to the truth of the remaining allegations in paragraph 58.

         59.   Huntsman denies the first sentence of paragraph 59 as to Huntsman’s

knowledge. Huntsman denies any remaining allegations in paragraph 59 that are

directed at it. Huntsman lacks knowledge or information sufficient to form a belief

as to the truth of the remaining allegations in paragraph 59.

         60.   Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 60.


                                          22
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 23 of 60




         61.   Huntsman denies the first sentence of paragraph 61 as to Huntsman’s

knowledge. Huntsman denies any remaining allegations in paragraph 61 that are

directed at it. Huntsman lacks knowledge or information sufficient to form a belief

as to the truth of the remaining allegations in paragraph 61.

         62.   Huntsman denies the first sentence of paragraph 62 as to Huntsman’s

knowledge. Huntsman denies any remaining allegations in paragraph 62 that are

directed at it. Huntsman lacks knowledge or information sufficient to form a belief

as to the truth of the remaining allegations in paragraph 62.

         63.   Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 63.

         64.   Huntsman admits that it has supplied certain products containing PFAS

to certain customers in the textile industry since 2006. Huntsman admits that DuPont

provided certain information to Huntsman regarding PFAS.            Huntsman lacks

sufficient knowledge or information regarding whether DuPont supplied “available”

information. Huntsman denies the remaining allegations in paragraph 64.

         65.   Huntsman admits that it has supplied certain products containing PFAS

to certain customers in the textile industry since 2006 when it acquired the textile

effects business of Ciba Specialty Chemicals Holding Inc. Huntsman admits that

DuPont sold PFAS-containing products to Huntsman and that Huntsman generally


                                          23
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 24 of 60




sold these products under Huntsman’s branding either as resale products that were

not modified or as formulated products that were combined with other non-PFAS

products.      Some of these PFAS-containing products were further reacted by

Huntsman to create intermediate products before sale to end users such as Mount

Vernon. Huntsman denies the remaining allegations in paragraph 65.

         66.   This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 66.

         67.   This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 67.

         68.   This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 68.

         69.   This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks


                                          24
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 25 of 60




knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 69.

         70.   This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 70.

         71.   This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 71.

         72.   This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 72.

         73.   This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 73.




                                          25
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 26 of 60




         74.   This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 74.

         75.   Huntsman admits that DuPont licensed the use of its trademark Teflon

for use in the textile industry. Huntsman admits that DuPont provided Huntsman

with technical and performance information concerning products containing PFAS

that DuPont sold to Huntsman. Huntsman admits that it has utilized DuPont

products with the tradename Zonyl. Huntsman lacks knowledge or information

sufficient to form a belief as to the truth of the remaining allegations in paragraph

75.

         76.   Huntsman admits that in 2007, Huntsman acquired from DuPont a

segment of the Zonyl product line used exclusively on nonwoven textile products.

Huntsman admits that DuPont has manufactured and supplied certain products

containing PFAS to Huntsman and that Huntsman sold PFAS-containing products

to Mount Vernon that were based on or comprised of the products manufactured and

supplied by DuPont until 2015. Huntsman denies the remaining allegations in

paragraph 76.




                                          26
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 27 of 60




         77.   This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 77.

         78.   Huntsman admits that Chemours has manufactured and supplied certain

products containing PFAS to Huntsman and that Huntsman sold PFAS-containing

products to Mount Vernon that were based on or comprised of the products

manufactured and supplied by Chemours.            Huntsman denies the remaining

allegations in paragraph 78.

         79.   Huntsman admits that Chemours licensed the use of its trademark

Teflon for use in the textile industry. Huntsman admits that Chemours provided

Huntsman with technical and performance information concerning products

containing PFAS that Chemours sold to Huntsman. Huntsman admits that it has

utilized products with Chemours tradenames.          Huntsman lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in

paragraph 79.

         80.   This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks




                                          27
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 28 of 60




knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 80.

         81.   Huntsman admits that the EPA published certain Significant New Use

Rules in 2002 concerning PFOA and PFOS. Huntsman admits that “Short-Chain”

PFAS (i.e., PFAS with six or fewer carbon atoms) exist. Huntsman denies any

allegations in this paragraph directed against Huntsman. Huntsman lacks knowledge

or information sufficient to form a belief as to the truth of the remaining allegations

in paragraph 81.

         82.   Huntsman denies the allegations in paragraph 82 directed against it.

Huntsman lacks knowledge or information sufficient to form a belief as to the truth

of the remaining allegations in paragraph 82, including those directed at other

Defendants.

         83.   Huntsman denies the allegations in paragraph 83 directed against it.

Huntsman lacks knowledge or information sufficient to form a belief as to the truth

of the remaining allegations in paragraph 83, including those directed at other

Defendants.

         84.   Huntsman denies the allegations in paragraph 84 directed against it.

Huntsman lacks knowledge or information sufficient to form a belief as to the truth




                                          28
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 29 of 60




of the remaining allegations in paragraph 84, including those directed at other

Defendants.

         85.   Huntsman denies the allegations in paragraph 85 directed against it.

Huntsman lacks knowledge or information sufficient to form a belief as to the truth

of the remaining allegations in paragraph 85, including those directed at other

Defendants.

Contamination of Raccoon Creek and City of Summerville Water Supply with
PFAS

         86.   Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the in paragraph 86.

         87.   Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 87.

         88.   Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 88.

         89.   Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 89.

         90.   Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 90.

         91.   Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 91.
                                          29
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 30 of 60




         92.   Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 92.

         93.   Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 93.

         94.   Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 94.

         95.   Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 95.

         96.   Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 96.

         97.   Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 97.

         98.   Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 98.

         99.   Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in paragraph 99.

         100. Huntsman denies the allegations in paragraph 100 directed against it

and that allege that Plaintiff and the proposed class suffered damages as a result of

any act or omission by Huntsman. Huntsman lacks knowledge or information


                                          30
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 31 of 60




sufficient to form a belief as to the truth of the remaining allegations in paragraph

100, including those directed at other Defendants.

         101. Huntsman denies the allegations in paragraph 101 directed against it

and that allege that Plaintiff and the proposed class suffered damages as a result of

any act or omission by Huntsman. Huntsman lacks knowledge or information

sufficient to form a belief as to the truth of the remaining allegations in paragraph

101, including those directed at other Defendants.

         102. Huntsman denies the allegations in paragraph 102 directed against it

and that allege that Plaintiff and the proposed class suffered damages as a result of

any act or omission by Huntsman. Huntsman lacks knowledge or information

sufficient to form a belief as to the truth of the remaining allegations in paragraph

102, including those directed at other Defendants.

                       COUNT ONE:
      DEFENDANTS TRION AND JARRETT’S DISCHARGE OF
 POLLUTANTS TO SURFACE WATERS WITHOUT AN NPDES PERMIT
          IN VIOLATION OF THE CLEAN WATER ACT

         103. Huntsman incorporates its responses to paragraphs 1 to 102 of the

Complaint as if fully set forth herein.

         104. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks



                                          31
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 32 of 60




knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 104.

         105. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 105.

         106. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 106.

         107. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 107.

         108. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 108.




                                          32
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 33 of 60




         109. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 109.

         110. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 110.

         111. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 111.

         112. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 112.

         113. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks




                                          33
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 34 of 60




knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 113.

         114. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 114.

         115. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 115.

         116. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 116.

  COUNT TWO: DEFENDANT TRION’S VIOLATIONS OF ITS NPDES
PERMIT, THE GEORGIA WATER QUALITY CONTROL ACT, AND THE
                   CLEAN WATER ACT

         117. Huntsman incorporates its responses to paragraphs 1 to 116 of the

Complaint as if fully set forth herein.




                                          34
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 35 of 60




         118. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 118.

         119. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 119.

         120. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 120.

         121. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 121.

         122. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks




                                          35
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 36 of 60




knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 122.

         123. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 123.

         124. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 124.

         125. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 125.

         126. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 126.




                                          36
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 37 of 60




         127. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 127.

 COUNT THREE: DEFENDANT TRION’S VIOLATIONS OF ITS NPDES
PERMIT, THE GEORGIA WATER QUALITY CONTROL ACT, AND THE
                   CLEAN WATER ACT

         128. Huntsman incorporates its responses to paragraphs 1 to 127 of the

Complaint as if fully set forth herein.

         129. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 129.

         130. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 130.

         131. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks




                                          37
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 38 of 60




knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 131.

         132. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 132.

         133. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 133.

         134. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 134.

         135. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 135.




                                          38
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 39 of 60




         136. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 136.

         137. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 137.

         138. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 138.

         139. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 139.

         140. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks




                                          39
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 40 of 60




knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 140.

         141. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 141.

         142. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 142.

         143. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 143.

         144. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 144.




                                          40
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 41 of 60




         145. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 145.

         146. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 146.

                     COUNT FOUR:
 RCRA IMMINENT AND SUBSTANTIAL ENDANGERMENT CREATED
    BY DEFENDANTS MOUNT VERNON, TRION, AND JARRETT

         147. Huntsman incorporates its responses to paragraphs 1 to 146 of the

Complaint as if fully set forth herein.

         148. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 148.

         149. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks




                                          41
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 42 of 60




knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 149.

         150. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 150.

         151. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 151.

         152. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 152.

         153. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 153.




                                          42
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 43 of 60




         154. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent this paragraph directs allegations at

Huntsman, those allegations are denied. Huntsman lacks knowledge or information

sufficient to form a belief as to the truth of any remaining allegations in paragraph

154.

         155. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 155.

              CLASS ALLEGATIONS FOR STATE LAW CLAIMS

         156. Huntsman incorporates its responses to paragraphs 1 to 155 of the

Complaint as if fully set forth herein.

         157. Huntsman admits that Plaintiff brings his state law claims as a putative

class action pursuant to Federal Rule of Civil Procedure 23. Huntsman denies that

Plaintiff’s action satisfies the requirements of Federal Rules 23(a) & 23(b)(3) and

that this action is otherwise appropriate for class action treatment. Huntsman denies

any remaining allegations in paragraph 157.

         158. Huntsman denies the allegations contained in paragraph 158.




                                           43
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 44 of 60




         159. Huntsman admits that Plaintiff brings a putative class action on behalf

of the proposed class alleged in paragraph 159. Huntsman denies that this action is

appropriate for class action treatment. Huntsman denies any remaining allegations.

         160. Huntsman admits that Plaintiff’s proposed class excludes the categories

of persons listed in subparagraphs 160(a)-(e). Huntsman denies that this action is

appropriate for class action treatment. Huntsman denies any remaining allegations.

         161. Huntsman admits that paragraph 161 includes Plaintiff’s reservation of

rights to amend or modify his proposed class. To the extent further response is

necessary, Huntsman denies that this action is appropriate for class action treatment

and, as such, denies that Plaintiff should be permitted to amend or modify his

proposed class. Huntsman denies any remaining allegations.

                                     Numerosity

         162. Huntsman admits that Plaintiff seeks to bring an action on behalf of a

class of persons of unknown size. Huntsman denies that this action is appropriate

for class action treatment. Huntsman lacks knowledge or information sufficient to

form a belief as to the truth of Plaintiff’s allegation that the number of his proposed

class “probably exceeds 11,000 people (over 4,000 service connections).” Huntsman

denies any remaining allegations.




                                          44
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 45 of 60




         163. Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the allegations contained in paragraph 163.

                                      Typicality

         164. Huntsman admits that Plaintiff seeks to bring an action on behalf of a

class of persons of unknown size. Huntsman denies that this action is appropriate

for class action treatment. Huntsman lacks knowledge or information sufficient to

form a belief as to the truth of Plaintiff’s allegation that he is a water subscriber and

a property owner. Huntsman denies any remaining allegations.

                              Adequate Representation

         165. Huntsman admits that Plaintiff seeks to bring an action on behalf of a

class of persons of unknown size. Huntsman denies that this action is appropriate

for class action treatment. Huntsman denies any allegations directed against it in

this paragraph. Huntsman lacks knowledge or information sufficient to form a belief

as to the truth of the remaining allegations.

         166. Huntsman admits that Plaintiff seeks to bring an action on behalf of a

class of persons of unknown size. Huntsman denies that this action is appropriate

for class action treatment. Huntsman lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations.




                                           45
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 46 of 60




               Predominance of Common Questions of Law and Fact

         167. Huntsman admits that Plaintiff seeks to bring an action on behalf of a

class of persons of unknown size. Huntsman denies that this action is appropriate

for class action treatment. Huntsman denies that common questions of fact and law

among the Representative Plaintiffs and Proposed Class Members predominate over

questions affecting only individual Class Members. Huntsman denies any remaining

allegations in paragraph 167, including subparts (a)-(m).

         168. Huntsman admits that Plaintiff seeks to bring an action on behalf of a

class of persons of unknown size. Huntsman denies that this action is appropriate

for class action treatment. Huntsman denies that common questions of fact and law

among the Representative Plaintiffs and Proposed Class Members predominate over

questions affecting only individual Class Members. Huntsman denies that a class

action is superior to other available methods for the fair and efficient adjudication of

the controversy. Huntsman denies any remaining allegations.

         169. Huntsman admits that Plaintiff seeks to bring an action on behalf of a

class of persons of unknown size. Huntsman denies that this action is appropriate

for class action treatment. Huntsman denies that common questions of fact and law

among the Representative Plaintiffs and Proposed Class Members predominate over

questions affecting only individual Class Members.


                                          46
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 47 of 60




         Fed. R. Civ. P. 23(a) and 23(b)(2) Injunctive or Declaratory Relief

         170. Huntsman admits that Plaintiff seeks to bring a class action requesting

injunctive and declaratory relief. Huntsman denies that this action is appropriate for

class action treatment and denies that Plaintiff or his proposed class is entitled to the

relief sought against Huntsman. Huntsman denies any remaining allegations.

                                      Superiority

         171. Huntsman admits that Plaintiff seeks to bring an action on behalf of a

class of persons of unknown size. Huntsman denies that this action is appropriate

for class action treatment. Huntsman denies that class action treatment is a superior

method to other available methods for fairly and effectively adjudicating the

controversy. Huntsman denies that certification would be proper for the reasons

Plaintiff describes in paragraph 171. Huntsman denies any remaining allegations.

         172. Huntsman admits that Plaintiff seeks to bring an action on behalf of a

class of persons of unknown size. Huntsman denies that this action is appropriate

for class action treatment. Huntsman denies that class action treatment is preferable

to other available methods of fairly and efficiently adjudicating the controversy.

Huntsman denies any remaining allegations.




                                           47
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 48 of 60




                       COUNT FIVE:
                       NEGLIGENCE
    (PFAS MANUFACTURING DEFENDANTS AND MOUNT VERNON)

         173. Huntsman incorporates its responses to paragraphs 1 to 172 of the

Complaint as if fully set forth herein.

         174. Huntsman denies the allegations in paragraph 174 directed against

Huntsman. Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the remaining allegations against other Defendants.

         175. Huntsman denies the allegations in paragraph 175 directed against

Huntsman. Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the remaining allegations against other Defendants.

         176. Huntsman denies the allegations in paragraph 176 directed against

Huntsman. Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the remaining allegations against other Defendants.

         177. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 177.

         178. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks


                                          48
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 49 of 60




knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 178.

         179. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 179.

         180. Huntsman denies the allegations in paragraph 180 directed against

Huntsman. Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the remaining allegations against other Defendants.

         181. Huntsman denies the allegations in paragraph 181 directed against

Huntsman and denies that Plaintiff or his proposed class suffered damages as a result

of any act or omission by Huntsman. Huntsman lacks knowledge or information

sufficient to form a belief as to the truth of the remaining allegations against other

Defendants.

                                COUNT SIX:
                             NEGLIGENCE PER SE
                           (MOUNT VERNON MILLS)

         182. Huntsman incorporates its responses to paragraphs 1 to 181 of the

Complaint as if fully set forth herein.




                                          49
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 50 of 60




         183. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 183.

         184. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 184.

         185. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 185.

         186. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 186.

         187. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks




                                          50
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 51 of 60




knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 187.

                      COUNT SEVEN:
                NEGLIGENT FAILURE TO WARN
    (PFAS MANUFACTURING DEFENDANTS AND MOUNT VERNON)

         188. Huntsman incorporates its responses to paragraphs 1 to 187 of the

Complaint as if fully set forth herein.

         189. Huntsman denies the allegations in paragraph 189 directed against

Huntsman. Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the remaining allegations against other Defendants.

         190. Huntsman denies the allegations in paragraph 190 directed against

Huntsman. Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the remaining allegations against other Defendants.

         191. Huntsman denies the allegations in paragraph 191 directed against

Huntsman. Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the remaining allegations against other Defendants.

         192. Huntsman denies the allegations in paragraph 192 directed against

Huntsman. Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the remaining allegations against other Defendants.




                                          51
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 52 of 60




         193. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 193.

         194. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 194.

         195. This paragraph does not contain allegations against Huntsman and, as

such, no response is required. To the extent a response is required, Huntsman lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

in paragraph 195.

         196. Huntsman denies the allegations in paragraph 196 directed against

Huntsman and denies that Plaintiff or his proposed class suffered injuries as a result

of any act or omission by Huntsman. Huntsman lacks knowledge or information

sufficient to form a belief as to the truth of the remaining allegations against other

Defendants.




                                          52
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 53 of 60




         197. Huntsman denies the allegations in paragraph 197 directed against

Huntsman. Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the remaining allegations against other Defendants.

         198. Huntsman denies the allegations in paragraph 198 directed against

Huntsman and denies that Plaintiff or his proposed class suffered damages as a result

of any act or omission by Huntsman. Huntsman lacks knowledge or information

sufficient to form a belief as to the truth of the remaining allegations against other

Defendants.

                      COUNT EIGHT:
           WANTON CONDUCT AND PUNITIVE DAMAGES
    (PFAS MANUFACTURING DEFENDANTS AND MOUNT VERNON)

         199. Huntsman incorporates its responses to paragraphs 1 to 198 of the

Complaint as if fully set forth herein.

         200. Huntsman denies the allegations in paragraph 200 directed against

Huntsman. Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the remaining allegations against other Defendants.

         201. Huntsman denies the allegations in paragraph 201 directed against

Huntsman. Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the remaining allegations against other Defendants.




                                          53
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 54 of 60




         202. Huntsman denies the allegations in paragraph 202 directed against

Huntsman. Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the remaining allegations against other Defendants.

         203. Huntsman denies the allegations in paragraph 203 directed against

Huntsman. Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the remaining allegations against other Defendants.

         204. Huntsman denies the allegations in paragraph 204 directed against

Huntsman. Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the remaining allegations against other Defendants.

         205. Huntsman denies the allegations in paragraph 205 directed against

Huntsman. Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the remaining allegations against other Defendants.

         206. Huntsman denies the allegations in paragraph 206 directed against

Huntsman. Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the remaining allegations against other Defendants.

                             COUNT NINE:
                      PUBLIC NUISANCE/DAMAGES
             (ALL DEFENDANTS EXCEPT TRION AND JARRETT)

         207. Huntsman incorporates its responses to paragraphs 1 to 206 of the

Complaint as if fully set forth herein.


                                          54
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 55 of 60




         208. Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the allegations contained in paragraph 208.

         209. Huntsman denies the allegations in paragraph 209 directed against

Huntsman. Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the remaining allegations against other Defendants.

         210. Huntsman denies the allegations in paragraph 210 directed against

Huntsman. Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the remaining allegations against other Defendants.

         211. Huntsman denies the allegations in paragraph 211 directed against

Huntsman. Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the remaining allegations against other Defendants.

         212. Huntsman denies the allegations in paragraph 212 directed against

Huntsman. Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the remaining allegations against other Defendants.

         213. Huntsman denies the allegations in paragraph 213 directed against

Huntsman. Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the remaining allegations against other Defendants.




                                          55
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 56 of 60




         214. Huntsman denies the allegations in paragraph 214 directed against

Huntsman. Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the remaining allegations against other Defendants.

         215. Huntsman denies the allegations in paragraph 215 directed against

Huntsman. Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the remaining allegations against other Defendants.

         216. Huntsman denies the allegations in paragraph 216 directed against

Huntsman. Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the remaining allegations against other Defendants.

                             COUNT TEN:
                     ABATEMENT OF PUBLIC NUISANCE
                          (ALL DEFENDANTS)

         217. Huntsman incorporates its response to paragraph 1 to 216 of the

Complaint as if fully set forth herein.

         218. Huntsman denies the allegations in paragraph 218 directed against

Huntsman. Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the remaining allegations against other Defendants.

         219. Huntsman denies the allegations in paragraph 219 directed against

Huntsman. Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the remaining allegations against other Defendants.


                                          56
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 57 of 60




         220. Huntsman admits that Plaintiff seeks the relief requested in paragraph

220 but denies that Plaintiff or his proposed class is entitled to the relief requested.

Huntsman denies the remaining allegations in paragraph 220 directed against

Huntsman. Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the remaining allegations against other Defendants.

         221. Huntsman admits that Plaintiff seeks the relief requested in paragraph

221 but denies that Plaintiff or his proposed class is entitled to the relief requested.

Huntsman denies the remaining allegations in paragraph 221 directed against

Huntsman. Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the remaining allegations against other Defendants.

         222. Huntsman denies the allegations in paragraph 222 directed against

Huntsman. Huntsman lacks knowledge or information sufficient to form a belief as

to the truth of the remaining allegations against other Defendants.

                               RELIEF REQUESTED

         Huntsman denies the allegations contained in this section of the Complaint,

including subparagraphs (a)-(q). Huntsman denies that Plaintiff or his proposed

class is entitled to the relief requested in this section. Unless specifically admitted

in this Answer, Huntsman denies any allegations contained in the Complaint.




                                          57
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 58 of 60




                                   III.
                          CONCLUSION AND PRAYER

         WHEREFORE, Defendant Huntsman International LLC respectfully requests

that the Court dismiss Plaintiff’s Second Amended Complaint against it, award

costs, fees, and expenses of litigation to Huntsman, and grant such other relief to

Huntsman as the Court deems equitable and just.



         Respectfully submitted this 5th day of December, 2022.



                                        /s/ Benjamin E. Fox
                                        Benjamin E. Fox
                                        Georgia Bar. No. 329427
                                        fox@bmelaw.com
                                        Laurie Ann Taylor
                                        Georgia Bar No. 170118
                                        ltaylor@bmelaw.com
                                        BONDURANT, MIXSON & ELMORE, LLP
                                        1201 W. PEACHTREE ST. NW, STE. 3900
                                        Atlanta, Georgia 30308
                                        Facsimile: (404) 881-4111
                                        Telephone: (404) 881-4100

                                        COUNSEL IN CHARGE FOR
                                        DEFENDANT HUNTSMAN
                                        INTERNATIONAL LLC




                                          58
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 59 of 60




OF COUNSEL:

Jean Frizzell (Pro Hac Vice)
jfrizzell@reynoldsfrizzell.com
Solace Kirkland Southwick (Pro Hac Vice)
ssouthwick@reynoldsfrizzell.com
Zach Burford (Pro Hac Vice)
zburford@reynoldsfrizzell.com
Insiya Aziz (Pro Hac Vice)
iaziz@reynoldsfrizzell.com
REYNOLDS FRIZZELL LLP
1100 Louisiana Street, Suite 3500
Houston, Texas 77002
Telephone: (713) 485-7200
Facsimile: (713) 485-7250

ATTORNEYS FOR DEFENDANT
HUNTSMAN INTERNATIONAL LLC




                                       59
#3357124v1
        Case 4:21-cv-00040-TWT Document 296 Filed 12/05/22 Page 60 of 60




                          CERTIFICATE OF SERVICE

         I hereby certify that on December 5, 2022, the within and foregoing

HUNTSMAN INTERNATIONAL LLC’S ANSWER AND AFFIRMATIVE

DEFENSES TO EARL PARRIS, JR.’S SECOND AMENDED COMPLAINT

AND TO THE CITY OF SUMMERVILLE’S JOINDER was electronically filed

with the Clerk of Court using the CM/ECF system, which automatically provides

notification of such filing to all counsel of record.


                                                /s/ Benjamin E. Fox
                                                Benjamin E. Fox
                                                Ga. Bar No. 329427
                                                fox@bmelaw.com

                                                Attorney for Defendant Huntsman
                                                International LLC




                                           60
#3357124v1
